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UNITED STATES DISTRICT                                        DISTRICT COURT
COURT                                                  CASE TYPE: CIVIL RIGHTS
DISTRICT OF MINNESOTA                                                AND TORT
                                                 Court File No. 20-cv-00677
                                                 (NEB/DTS)



Larry Arman and Camille Arman,
L.A., L.A., and L.A., by and through his
parents and natural guardians Larry
Arman and Camille Arman
                      Plaintiffs,
vs.

Minneapolis Police Officer Matthew
Severance, St. Paul Police Department
Officer Jason Brubaker, St. Paul Police                FIRST AMENDED COMPLAINT
Department Officer Salim Omari, Saint                  JURY TRIAL DEMANDED
Paul Police Deapartment Commander
Timothy Flynn, Saint Paul Police
Department Sergeant James Falkowski,
Saint Paul Police Department Sergeant
Steven J. Anderson, Saint Paul Police
Department Sergeant Patrick Cheshier,
the City of Minneapolis, and the City of
Saint Paul
                     Defendants.



Plaintiffs, Larry Lee Arman and Camille Arman, individually and on behalf of their
minor children, L.A., L.A., and L.A., state and allege as follows:

   1. This is an action for money damages for injuries sustained by Plaintiffs as a
       result of the violations of their constitutional rights by the above mentioned on-
       duty Police Officers and the Cities of Minneapolis and Saint Paul (“Defendants”).
       The conduct of the Defendants violated Plaintiffs’ well-settled civil rights while



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   acting under the color of state law. Defendants also violated the common laws of
   the State of Minnesota.
2. Plaintiffs bring this action pursuant to 42 U.S.C. §§ 1983 and 1988, the Fourth and
   Fourteenth Amendments to the United States Constitution and 28 U.S.C §§ 1331
   and 1343 (3)

                               PARTIES AND VENUE
3. Because all of the facts complained of arose in St. Paul Ramsey County,
   Minnesota, this action properly lies in the District of Minnesota
4. At all times relevant to this action, Plaintiffs were and are citizens of the United
   States and residents of Ramsey County, Minnesota. Plaintiffs Larry and Camille
   Arman are of the age of majority, and the sole custodians and guardians of their
   minor children, L.A., L.A., and L.A. At all times relevant to this action,
   Defendants were duly appointed police officers of the Cities of Minneapolis and
   St. Paul, Minnesota and the Cities of Minneapolis and Saint Paul.

                             FACTUAL ALLEGATIONS
5. At all times relevant to this lawsuit, Plaintiffs Mr. and Mrs. Arman owned a
   home at 71 Maryland Avenue, St. Paul, Minnesota.
6. On the Morning of July 9, 2014, Mr. and Mrs. Arman were at home with their
   two sons, L.A. and L.A., as well as their two dogs. Mrs. Arman was pregnant
   with L.A., a third child.
7. Three family members were sleeping in the front living room of the home
   because parts of the home were being remodeled, while Mrs. Arman was awake
   and walking from room to room in the house.
8. Defendants Brubaker and Omari, who were at the Arman’s home to execute a
   search warrant, barged through the front door without warning and began firing
   their automatic weapons. Defendant’s did not “knock and announce,” nor did
   they give any warning that they were entering the Arman family’s home.



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9. Defendants Brubaker and Omari were briefed by James Falkowski, Timothy
   Flynn, Sergeant Anderson, and/or Sergeant Cheshire that the dogs were
   aggressive when the dogs were not aggressive.
10. One of the Armans’ dogs, Mello, was laying in the front living room when
   Defendants entered. Before the dog had time to stand up, Defendant Jason
   Brubaker and/or Salim Omari shot and killed the dog, splattering blood all over
   the area where the Armans were laying. Mello did not bark nor did he display
   any aggression towards Defendants. The first thing the Armans heard that
   morning when Defendants came through the door was the sound of gunfire
   killing Mello.
11. At the same time, Defendant Jason Brubaker and/or Salim Omari entered the
   home and began to shoot the Family’s other dog, Laylow. Laylow turned and
   ran away from the Defendants and towards the Arman family who lay nearby.
   As Mrs. Arman screamed to stop shooting, and as LayLow reached Mr. Arman
   and began to lay down, Defendant Jason Brubaker and/or Salim Omari fired
   several more shots and killed LayLow in close proximity to Mr. Arman’s face.
12. Defendants Jason Brubaker and Salim Omari had a clear view that all the
   Plaintiffs were in the line of fire.
13. As the shooting erupted in the foyer and living room, Mrs. Arman threw herself
   on top of her children to cover them from gun fire. The Armans were put in
   grave fear for their safety as well as that of their children and unborn child. The
   Armans’ sons also feared for their own safety as well as that of their parents.
14. After killing Mello and nearly killing members of the Arman family, Defendants
   zip tied Mr. Arman’s hands, and ransacked the house, destroying much of the
   family’s personal property. Defendants found no evidence of criminal activity
   within the house.
15. Defendants attempted to pick up most of their shell casings before they left;
   however, once the dust settled and Mr. and Mrs. Arman were able to attend to



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       their traumatized children, Mr. Arman discovered several more bullets in the
       floor and basement of his home.
   16. The Armans suffer from PTSD as a result of the Defendants’ illegal conduct and
       thye feel humiliated that Mr. Arman was handcuffed in front of his sons. Mrs.
       Arman and the children are still traumatized by seeing their pets killed and are
       frightened that the Defendants may come back and shoot up the house again.

         COUNT 1 – FOURTH AMENDMENT VIOLATIONS OF 42 U.S.C. 1983
Plaintiff re-allege all previous paragraphs and further state:

   17. By applying for a no knock warrant and entering without knocking and
       announcing, killing the docile family dogs, and shooting indiscriminately into
       Plaintiffs’ home and directly at Plaintiffs without a lawful purpose, Defendants
       Severance, Brubaker, and Omari acted intentionally to deprive Plaintiffs of their
       right to be free from unreasonable search and seizure, and excessive and
       unjustified deadly force. These rights are secured to Plaintiffs by the Fourth and
       Fourteenth Amendments to the Constitution of the United States.
   18. As a direct and proximate cause of Defendants’ excessive use of force, Plaintiff
       have suffered physical injury, property damage, damage to the family business,
       pain and suffering, mental anguish and humiliation.

Plaintiff demand relief as set forth below.
    COUNT 2 – FOURTEENTH AMENDMENT VIOLATIONS OF 42 U.S.C. 1983
Plaintiffs re-allege all previous paragraphs and further state:

   19. By firing multiple rounds directly at the Arman family Defendants Jason
       Brubaker and Salim Omari engaged in conscience shocking behavior that
       interfered with their fundamental rights in violation of the Fourteenth
       Amendment.
   20. As a direct and proximate cause of the Defendants’ conduct, which constitutes
       substantive due process violations, the Plaintiffs have been forced to endure
       severe mental pain and suffering for which they undergo psychiatric counseling.

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   21. Plaintiffs as a direct and proximate cause of Defendants’ conduct, which
       constitutes procedural due process violations, in that the application for the
       search warrant is not supported by probable cause, have suffered property
       damage and damage to Mr. Arman’s business.

Plaintiffs demand relief as set forth below.
        COUNT 3 – NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
Plaintiffs re-allege all previous paragraphs and further state:

   22. The actions of the Defendants, including but not limited to, their failure to
       exercise due care, invaded the rights of all plaintiffs, who were placed in the zone
       of danger of physical impact and reasonably feared for their own safety as well
       as the safety of one another.
   23. Defendant police officers are authorized and expected to use appropriate force in
       the execution of their duties.
   24. As a direct and proximate cause of the acts of Defendant police officers, Plaintiffs
       have suffered severe mental and emotional distress with attendant physical
       manifestations as a result of the aforesaid shooting. Furthermore, no physical
       manifestation is necessary in this case because the “unusually disturbing
       experience” that Plaintiffs have endured assures the at their emotional distress is
       real and severe.
   25. Defendants City of Minneapolis and St. Paul are jointly and severally liable for
       the actions of the police officers under the doctrines of agency and respondeat
       superior.

Plaintiffs demand relief as set forth below.

                          PROPERTY DAMAGE – NEGLIGENCE
Plaintiffs re-allege all previous paragraphs and further state:




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   26. The actions of the Defendants, including but not limited to, their failure to
       exercise due care, damaged plaintiffs in that their family pets and property was
       destroyed, their home was damaged, and Mr. Arman’s business was damaged.
   27. As a direct and proximate cause of the acts of Defendant police officers as set
       forth above, Plaintiffs suffered physical injury, property damage, damage to the
       family business, pain and suffering, mental anguish and humiliation.
   28. Defendant police officers are authorized and expected to use appropriate force in
       the execution of their duties.
   29. Defendants City of Minneapolis and St. Paul are jointly and severally liable for
       the actions of the police officers under the doctrines of agency and respondeat
       superior.
   30. Plaintiffs demand relief as set forth below.

                    CUSTOM AND FAILURE TO TRAIN/SUPERVISE
Plaintiffs re-allege all previous paragraphs and further state:

   31. At all times relevant to this complaint defendants Defendant Jason Brubaker and
       Salim Omari as police officer of the Saint Paul police department were acting
       under the direction and control of high ranking officials and the Cities of Saint
       Paul and Minneapolis. They were also acting under the direction of Matthew
       Severance who applied for the search warrant, Commander Flynn, Sergeants
       Anderson, James Falkowski, and Cheshire of the Saint Paul Police Department.
   32. Acting under color of law and pursuant to official policy or custom, defendants
       including Mathew Severance and the Cities of Saint Paul and Minneapolis
       knowingly recklessly, or with deliberate indifference and callous disregard of
       Plaintiff’s rights, failed to instruct, supervise, control and discipline on a
       continuing basis Defendant police officers in their duties to refrain from (1)
       unnecessarily applying for no knock warrants (2) unlawfully and maliciously
       killing house pets in the execution of no knock warrants in front of citizens who
       were acting in accordance with their constitutional and statutory rights,


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       privileges, and immunities; (3) unlawfully and maliciously firing weapons in the
       direction of human beings in the execution of a no knock warrant and using
       unreasonable and excessive force before, during, or after the search and arrest,
       whether or not the arrest was lawful (4) conspiring to violate the rights,
       privileges, and immunities guaranteed to Plaintiffs by the Constitution of the
       laws of the United States and the laws of the State of Minnesota; and (5)
       otherwise depriving Plaintiffs of their constitutional and statutory rights,
       privileges, and immunities.
   33. Defendants Matthew Severance, Commander Flynn, Sergeants Anderson,
       Falkowski, and Cheshire and the Cities of Saint Paul and Minneapolis had
       knowledge or, had they diligently exercised their duties to instruct, supervise,
       control and discipline on a continuing basis, should have had knowledge that the
       wrongs conspired to be done, as alleged, were about to be committed.
   34. Defendants Matthew Severance, Commander Flynn, Sergeants Anderson,
       Falkowski, and Cheshire and the Cities of Minneapolis and Saint Paul had power
       to prevent or aid in preventing the commission of said wrongs, could have done
       so by reasonable diligence, and knowingly, recklessly, or with deliberate
       indifference and callous disregard of Plaintiffs’ rights failed or refused to do so.
   35. Defendants Matthew Severance, Commander Flynn, Sergeants Anderson,
       Falkowski, and Cheshire and the Cities of Minneapolis and Saint Paul, directly or
       indirectly, under color of law, approved or ratified the unlawful, deliberate,
       malicious, reckless, and wanton conduct of Defendant Police officers described.
   36. As a direct and proximate cause of the acts of Defendants Matthew Severance,
       Commander Flynn, Sergeants Anderson, Falkowski, and Cheshire and the Cities
       of Saint Paul and Minneapolis as set forth above, Plaintiff suffered physical
       injury, property damage, damage to the family business, pain and suffering,
       mental anguish and humiliation.

Plaintiffs demand relief as set forth below.


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   WHEREFORE, Plaintiffs pray for judgment as follows

   a. Awarding plaintiffs compensatory damages against Defendants, jointly and
       severally
   b. Awarding Plaintiffs punitive damages against Defendants, jointly and severally,
       which are available on the § 1983 claim against the individual officers as a matter
       of federal common law, Smith v. Wade, 461 U.S. 30 (1983), in an amount to be
       determined at trial; Plaintiffs also hereby reserve the right to amend the
       Complaint to add a claim for punitive damages on their State law claims; and
   c. Awarding Plaintiff all of their costs and disbursements, including reasonable
       attorney’s fees as allowed by law, including 42 U.S.C. § 1988; and
   d. Granting such other relief as the Court may deem just and equitable; and

Plaintiffs demand a jury trial.

                                          Nickell Law Firm, PLLC




Dated: April 30, 2020 ________________ __________________________________________

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The undersigned acknowledges that sanctions may be imposed if the lawsuit is being
brought for an improper purpose, is not legally warranted, or lacks evidentiary support
under Minn. Stat. 549.211.


                                          Nickell Law Firm, PLLC




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Dated: April 30, 2020 ________________ __________________________________________

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